Exhibit B
                                              Wagner, et al. vs. Harris County, Texas
                                                        Alleged Cause of Injury
                           Officer/Detainee    Detainee/Detainee   Health             Is Detainee
Name of Detainee              Altercation          Altercation      Issue   Suicide    Deceased     Count 1   Count 2   Count 3


Antonio Lewis Radcliffe
Bernard Lockhart
Bryan Marquis Johnson
Christopher Dewayne Young
Deon Lewis Peterson
Dylan James Perio
Evan Ermayne Lee
Gary Wayne Smith
Harrell Veal
Jacoby Pillow
Jaquez Antony Moore
Jeremiah Jermaine Anglin
Jeremy Dawayne Garrison
John Lawrence Coote
Kenneth F. Richard
Kevin Leon Smith, Jr.
Kristan Smith
Michael Greigo

                                                                                                                         Page 1 of 2
                             Officer/Detainee    Detainee/Detainee        Health                     Is Detainee
Name of Detainee                Altercation          Altercation           Issue       Suicide        Deceased         Count 1        Count 2        Count 3


Nathan Bernard Henderson
Ramon Thomas
Robert Wayne Fore
Ryan Kenneth Twedt
Taylor Edward Euell
Tramell Morelle
William Curtis Barrett
Zachary Rene Zepeda
Zachery Kehjua Johnson

                         Count:     11                    11               11             1               12              27              27            17




Count 1: MONELL CLAIM; VIOLATION OF THE FOURTEENTH AMENDMENT; PURSUANT TO 42 U.S.C. § 1983; CONDITIONS OF CONFINEMENT––ALL PLAINTIFFS
Count 2: MONELL CLAIM; VIOLATION OF THE FOURTEENTH AMENDMENT; PURSUANT TO 42 U.S.C. § 1983; FAILURE TO TRAIN OR SUPERVISE.
Count 3: VIOLATION OF TITLE II OF THE AMERICANS WITH DISABILITIES ACT OF 1990 (42 U.S.C. § 12131, ET SEQ.) AND SECTION 504 OF THE REHABILITATION ACT OF 1973
         (29 U.S.C. § 794, ET SEQ.).




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